                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                      Case No. 07-CR-294

GARY D. ENGEL,

                       Defendant.


                                              ORDER


       Defendant Gary D. Engel, currently serving a federal sentence for conspiracy to distribute

controlled substances, has written the clerk requesting that a transcript of his plea hearing be

prepared. Engel indicates his intent to seek collateral review of his conviction, but has not yet done

so. Engel fails to state in his letter any grounds upon which he would be entitled to seek review,

especially since the Judgment of Conviction was entered more than a year ago.

       Under the circumstances, I conclude that Engel’s request for a transcript should be denied.

In the event Engel files a motion seeking post-conviction relief under 28 U.S.C. § 2255, he may

renew his request. However, the Court will first determine whether or not he could proceed under

that statute, given the delay. In any event, there being no matter pending before the Court and Engel

having failed to enunciate any potential ground upon which he would be entitled to relief, there is

no reason to incur the expense of transcript preparation. Moreover, even if an actual case was




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pending before the Court, Engel would at least have to show his own indigency and inability to pay

for a transcript himself before the Court would provide one. Accordingly, the request is denied.

       SO ORDERED this 4th day of November, 2009.



                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge




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